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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Case No. 1:22-cv-01268

JUUL LABS INC.,
a Delaware corporation,

        Plaintiff,

v.

GET YOUR WAX ON LLC,
a Colorado limited liability company,

Defendant.



                          CORPORATE DISCLOSURE STATEMENT


        Plaintiff JUUL Labs, Inc. (“JLI”) files this disclosure statement with the court clerk as

required by Federal Rule of Civil Procedure 7.1 and certifies the following:

     1. JUUL Labs, Inc. is a Delaware Corporation.

     2. JUUL Labs, Inc. is not a publicly held corporation or other publicly held entity.

     3. JUUL Labs, Inc. has no parent corporation.

     4. Altria Group, Inc. owns 10% or more of JUUL Labs, Inc.’s stock.

     5. No other publicly held corporation or other publicly held entity has a direct financial

        interest in the outcome of this litigation.

     6. JUUL Labs, Inc. is not a trade association.

                                                          Respectfully submitted,




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   May 20, 2022                       s/ Scott E. Brenner
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